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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


                                                    03-md-1570 (GBD)(SN)
 In re Terrorist Attacks on September 11, 2001
                                                    ECF Case


This Document relates to:
      Burnett, et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                       DECLARATION OF JOHN M. EUBANKS
                 IN SUPPORT OF PLAINTIFFS’ MOTION TO CORRECT

I, JOHN M. EUBANKS, declare, under penalty of perjury, as follows:

         1.    I am an attorney admitted to practice in the above-captioned matter and Member

Attorney with the law firm Motley Rice LLC, counsel for the Burnett Plaintiffs in this MDL in the

above-referenced matter (the “Burnett Plaintiffs”) that was initially filed in the United States

District Court for the District of Columbia on August 15, 2002 before being transferred to this

Court by order of the Judicial Panel on Multidistrict Litigation. I submit this Declaration in support

of the Burnett Plaintiffs’ Motion to Correct clerical errors in Exhibit B-2 to the January 18, 2024

Declaration of John M. Eubanks filed at ECF No. 9546-3 (ECF No. 1120-3 in 03-cv-9849); Exhibit

B-2 to the January 19, 2024 Declaration of John M. Eubanks filed at ECF No. 9550-3 (ECF No.

1124-3 in 03-cv-9849); Exhibit C to the January 19, 2024 Declaration of John M. Eubanks filed at

ECF No. 9550-4 (ECF No. 1124-4 in 03-cv-9849); and the Proposed Final Judgment Exhibits filed

at ECF Nos. 9547-3 (ECF No. 1121-3 in 03-cv-9849) and 9551-3 (ECF No. 1125-3 in 03-cv-

9849).

         2.    The sources of my information and the basis for my belief in my statements

contained herein are my personal involvement in this matter, my firm’s representation of the

Burnett Plaintiffs in the MDL in connection with the terrorist attacks on September 11, 2001, other

court records relating to this multidistrict litigation to which these individuals are parties, my
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communications with other counsel for other plaintiffs in this multidistrict litigation, and

conversations with these plaintiffs and other family members of these plaintiffs. Any matters about

which I lack personal knowledge are asserted herein upon information and belief.

       3.      On January 18, 2024, the Burnett Plaintiffs filed a Motion for Entry of Default

Judgments for Death Claims Under 18 U.S.C. § 2333 against Defendant The Taliban. See ECF

No. 9544 (ECF No. 1118 in 03-cv-9849). The motion was supported by my Declaration with

exhibits and a Proposed Final Judgment on behalf of the Burnett Plaintiffs pursuing Death Claims

under 18 U.S.C. § 2333. See ECF Nos. 9546 (Declaration; ECF No. 1120 in 03-cv-9849), 9546-

1 (Exhibit A; ECF No. 1120-1 in 03-cv-9849), 9546-2 (Exhibit B-1; ECF No. 1120-2 in 03-cv-

9849), 9546-3 (Exhibit B-2; ECF No. 1120-3 in 03-cv-9849), and 9547 (Proposed Default

Judgment with Exhibits; ECF No. 1121 in 03-cv-9849).

       4.      Since the filing of the Burnett Plaintiffs filed a Motion for Entry of Default

Judgments for Death Claims Under 18 U.S.C. § 2333 against Defendant The Taliban, I have

learned of a limited number of minor clerical errors that need to be corrected in advance of the

Court issuing its judgment.

            a. On Exhibit B-2, at line 238, counsel inadvertently included Laurie Sue Weinberg,
               as the Personal Representative of the Estate of Steven Weinberg; however, the
               Court has already entered a judgment for the Weinberg estate in the Ashton matter.
               The inclusion of this estate on the Burnett Plaintiffs’ motion was an oversight. The
               corrected Exhibit B-2 will replace the prior version and remove Laurie Sue
               Weinberg, as the Personal Representative of the Estate of Steven Weinberg.

            b. On Exhibit B-2, counsel needs to include Mary Lou Lee, as the Personal
               Representative of the Estate of Chih Min Foo. At the time of filing, Plaintiffs’
               counsel had not obtained proof of the decedent’s U.S. nationality on September 11,
               2001; however, we have now received his September 17, 1976 Certificate of
               Citizenship. The corrected Exhibit B-2 includes an entry for Mary Lou Lee, as the
               Personal Representative of the Estate of Chih Min Foo, and will replace the prior
               version.




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       5.      On January 19, 2024, the Burnett Plaintiffs filed a Motion for Entry of Default

Judgments for Solatium Claims Under 18 U.S.C. § 2333 against Defendant The Taliban. See ECF

No. 9548 (ECF No. 1122 in 03-cv-9849). The motion was supported by my Declaration with

exhibits and a Proposed Final Judgment on behalf of the Burnett Plaintiffs pursuing solatium

claims under 18 U.S.C. § 2333. See ECF Nos. 9550 (Declaration; ECF No. 1124 in 03-cv-9849),

9550-1 (Exhibit A; ECF No. 1124-1 in 03-cv-9849), 9550-2 (Exhibit B-1; ECF No. 1124-2 in 03-

cv-9849), 9550-3 (Exhibit B-2; ECF No. 1124-3 in 03-cv-9849), 9550-4 (Exhibit C; ECF No.

1124-4 in 03-cv-9849), and 9551 (Proposed Default Judgment with Exhibits; ECF No. 1125 in 03-

cv-9849).

       6.      Since the filing of the Burnett Plaintiffs filed a Motion for Entry of Default

Judgments for Solatium Claims Under 18 U.S.C. § 2333 against Defendant The Taliban, I have

learned of a limited number of minor clerical errors that need to be corrected in advance of the

Court issuing its judgment.

            a. On Exhibit B-2, line 4, counsel inadvertently included L.A., as the child of 9/11
               decedent Lee Alan Adler; however, the Court has already entered a judgment
               against Iran for L.A. in the Hoglan matter in which she is explicitly represented by
               Hoglan counsel whereas she is only represented in Burnett through her mother’s
               claim. The inclusion of L.A. on the Burnett Plaintiffs’ motion was an oversight.
               The corrected Exhibit B-2 will replace the prior version and remove L.A., as the
               child of 9/11 decedent Lee Alan Adler.

            b. On Exhibit B-2, line 9, counsel inadvertently included Alice Fay Doerge Adler, as
               the spouse of 9/11 decedent Lee Alan Adler, as a plaintiff without a prior judgment
               against the Islamic Republic of Iran. Ms. Adler should have been included on
               Exhibit B-1. The corrected Exhibit B-2 will replace the prior version and remove
               Alice Fay Doerge Adler, as the spouse of 9/11 decedent Lee Alan Adler. The
               corrected Exhibit B-1 will replace the prior version and include Alice Fay Doerge
               Adler, as the spouse of 9/11 decedent Lee Alan Adler.

            c. On Exhibit B-2, line 48, counsel inadvertently included Leslie Brown, as the sibling
               of 9/11 decedent Jeffrey Alan Coale, as a plaintiff without a prior judgment against
               the Islamic Republic of Iran. Ms. Brown should have been included on Exhibit B-
               1. The corrected Exhibit B-2 will replace the prior version and remove Leslie
               Brown, as the sibling of 9/11 decedent Jeffrey Alan Coale. The corrected Exhibit

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        B-1 will replace the prior version and include Leslie Brown, as the sibling of 9/11
        decedent Jeffrey Alan Coale.

     d. On Exhibit B-2, line 50, counsel inadvertently included Chris Burke, as the sibling
        of 9/11 decedent Thomas Daniel Burke; however, the Court has already entered
        judgment for Mr. Burke in the Ashton matter. The inclusion of this claim on the
        Burnett Plaintiffs’ motion was an oversight. The corrected Exhibit B-2 will replace
        the prior version and remove Chris Burke, as the sibling of 9/11 decedent Thomas
        Daniel Burke.

     e. On Exhibit B-2, at line 62, counsel needs to include the name Terence Connors as
        the child of 9/11 decedent Kevin P. Connors. Since counsel filed its initial motion,
        Mr. Connors executed a contract of representation with undersigned counsel
        permitting him to be explicitly named in these proceedings. The corrected Exhibit
        B-2 will replace the prior version and substitute “Terence Connors” in the place of
        “T.C.” as the child of 9/11 decedent Kevin P. Connors.

     f. On Exhibit B-2, line 93, counsel inadvertently included J.D., as the child of 9/11
        decedent Michael D. Diehl; however, the Court has already entered a judgment
        against Iran for J.D. in the Hoglan matter in which he is explicitly represented by
        Hoglan counsel whereas he is only represented in Burnett through his mother’s
        claim. The inclusion of J.D. on the Burnett Plaintiffs’ motion was an oversight. The
        corrected Exhibit B-2 will replace the prior version and remove J.D., as the child
        of 9/11 decedent Michael D. Diehl.

     g. On Exhibit B-2, line 94, counsel inadvertently included J.D., as the child of 9/11
        decedent Michael D. Diehl; however, the Court has already entered a judgment
        against Iran for J.D. in the Hoglan matter in which she is explicitly represented by
        Hoglan counsel whereas she is only represented in Burnett through her mother’s
        claim. The inclusion of J.D. on the Burnett Plaintiffs’ motion was an oversight. The
        corrected Exhibit B-2 will replace the prior version and remove J.D., as the child
        of 9/11 decedent Michael D. Diehl.

     h. On Exhibit B-2, line 146, counsel inadvertently included Tylia Furgal, as the sibling
        of 9/11 decedent Swede Joseph Chevalier; however, the Court has already entered
        judgment for Ms. Furgal in the Ashton/Burlingame matter. The inclusion of this
        claim on the Burnett Plaintiffs’ motion was an oversight. The corrected Exhibit B-
        2 will replace the prior version and remove Tylia Furgal, as the sibling of 9/11
        decedent Swede Joseph Chevalier.

     i. On Exhibit B-2, line 161, the entry for Alice Gary, as the parent of 9/11 decedent
        Bruce Henry Gary, should be deleted as it was a duplicate of line 162 (which
        includes a more fulsome statement regarding “Amendments & Substitutions.” The
        inclusion of this duplicate entry was an oversight. The corrected Exhibit B-2 will
        replace the prior version and remove the duplicate entry for Alice Gary, as the
        parent of 9/11 decedent Bruce Henry Gary.


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     j. On Exhibit B-2, line 241, the entry for John David Ketler, as the sibling of 9/11
        decedent Ruth Ellen Ketler, should be deleted as it was a duplicate of line 240
        (which includes a more fulsome statement regarding “Amendments &
        Substitutions.” The inclusion of this duplicate entry was an oversight. The
        corrected Exhibit B-2 will replace the prior version and remove the duplicate entry
        for John David Ketler, as the sibling of 9/11 decedent Ruth Ellen Ketler.

     k. On Exhibit B-2, line 268, counsel inadvertently included Dennis J. Levi, as the
        child of 9/11 decedent John Dennis Levi; however, the Court has already entered
        judgment for Mr. Levi in the Ashton/Burlingame matter. The inclusion of this claim
        on the Burnett Plaintiffs’ motion was an oversight. The corrected Exhibit B-2 will
        replace the prior version and remove Dennis J. Levi, as the child of 9/11 decedent
        John Dennis Levi.

     l. On Exhibit B-2, line 402, counsel inadvertently included Donna Struzzieri, as the
        sibling of 9/11 decedent Bruce Henry Gary; however, the claim for Ms. Struzzieri
        is pending in the O’Neill matter. The inclusion of this claim on the Burnett
        Plaintiffs’ motion was an oversight. The corrected Exhibit B-2 will replace the prior
        version and remove Donna Struzzieri, as the sibling of 9/11 decedent Bruce Henry
        Gary.

     m. On Exhibit B-2, line 409, counsel inadvertently included S.L.T., as the child of 9/11
        decedent Donnie B. Taylor, Sr.; however, the claim for S.L.T. is pending in the
        O’Neill matter. The inclusion of this claim on the Burnett Plaintiffs’ motion was
        an oversight. The corrected Exhibit B-2 will replace the prior version and remove
        S.L.T., as the child of 9/11 decedent Donnie B. Taylor, Sr.

     n. On Exhibit B-2, line 411, counsel inadvertently included Donnie Brooks Taylor, as
        the child of Donnie B. Taylor, Sr.; however, the claim for Donnie Brooks Taylor is
        pending in the O’Neill matter. The inclusion of this claim on the Burnett Plaintiffs’
        motion was an oversight. The corrected Exhibit B-2 will replace the prior version
        and remove Donnie Brooks Taylor, as the child of 9/11 decedent Donnie B. Taylor,
        Sr.

     o. On Exhibit B-2, counsel needs to include Shane K. Connors as the child of 9/11
        decedent Kevin P. Connors. On March 12, 2024, the Court granted Plaintiffs’
        Motion to Add Parties as to The Taliban permitting the claims of Shane K. Connors,
        as the child of 9/11 decedent Kevin P. Connors, to proceed. See ECF No. 9637.
        Permitting this correction would prevent the filing of piecemeal motions. The
        corrected Exhibit B-2 will replace the prior version and include Shane K. Connors
        as the child of 9/11 decedent Kevin P. Connors.

     p. On Exhibit B-2, counsel needs to include Mark James Gardner as the sibling of
        9/11 decedent Harvey Joseph Gardner, III. On March 12, 2024, the Court granted
        Plaintiffs’ Motion to Add Parties as to The Taliban permitting the claims of Mark
        James Gardner, as the sibling of 9/11 decedent Harvey Joseph Gardner, III, to
        proceed. See ECF No. 9637. Permitting this correction would prevent the filing of

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               piecemeal motions. The corrected Exhibit B-2 will replace the prior version and
               include Mark James Gardner as the sibling of 9/11 decedent Harvey Joseph
               Gardner, III.

            q. On Exhibit C, line 14, counsel inadvertently included Jasmyn Alexandra Troy, as
               the functional equivalent of a child of 9/11 decedent Willie Quincy Troy; however,
               counsel has since obtained the order of adoption making Jasmyn Alexandra Troy
               the daughter of 9/11 decedent Willie Quincy Troy. The corrected Exhibit C will
               replace the prior version and remove Jasmyn Alexandra Troy, as the functional
               equivalent of a child of 9/11 decedent Willie Quincy Troy. The corrected Exhibit
               B-2 will replace the prior version and include Jasmyn Alexandra Troy, as the child
               of 9/11 decedent Willie Quincy Troy.

            r. On Exhibit C, line 15, counsel inadvertently included Rachel Uchitel, as the
               functional equivalent of a spouse of 9/11 decedent Andrew O’Grady; however, the
               claim for Rachel Uchitel is pending in the O’Neill matter. The inclusion of this
               claim on the Burnett Plaintiffs’ motion was an oversight. The corrected Exhibit C
               will replace the prior version and remove Rachel Uchitel, as the functional
               equivalent of a spouse of 9/11 decedent Andrew O’Grady.

            s. On Exhibit C, counsel needs to include Ian L Pescaia, as the domestic partner of
               9/11 decedent Christine Ann Snyder. On March 12, 2024, the Court granted
               Plaintiffs’ Motion to Add Parties as to The Taliban permitting the claims of Ian L.
               Pescaia, as the domestic partner of 9/11 decedent Christine Ann Snyder, to proceed.
               See ECF No. 9637. Permitting this correction would prevent the filing of piecemeal
               motions. The corrected Exhibit C will replace the prior version and include Ian L.
               Pescaia as the domestic partner of 9/11 decedent Christine Ann Snyder.

            t. On Exhibit C, the Burnett Plaintiffs inadvertently omitted the following claims:
               Nicholas Monaco, as the step-child of 9/11 decedent Ricardo J. Quinn; Cheryl
               Olivieri, as the fiancée of 9/11 decedent Paul R. Eckna; Richard A. Pecorella, as
               the fiancé of 9/11 decedent Karen S. Juday; Joan Ruth Puwalski, as the fiancée of
               9/11 decedent Steven J. Bates; Anthony Roman, as the fiancé of 9/11 decedent
               Jennifer Lynn Mazzotta; and Erin Ryan, as the fiancée of 9/11 decedent Michael R.
               Canty. The corrected Exhibit C will replace the prior version and include these
               inadvertently omitted names.

       7.      The corrections requested by the Burnett Plaintiffs are simply clerical in nature

and/or pertain to subsequent orders or facts that arose since the original motion was filed. Rule

60(a) applies, at least in part, to errors or omissions committed by an attorney or the court which

are not apparent on the record. See In re Merry Queen Transfer Corp., 266 F. Supp. 605 (E.D.N.Y.




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1967). The corrected exhibits appended to this Declaration are intended to aid the Court in its

consideration of the Burnett Plaintiffs’ pending motions for default judgment against The Taliban.

       8.        Attached as Exhibit 1 to this declaration is the corrected Exhibit B-2 to replace the

Exhibit B-2 that was originally filed on January 18, 2024 as ECF No. 9546-3 (ECF No. 1120-3 in

03-cv-9849).

       9.        Attached as Exhibit 2 to this declaration is the corrected Exhibit B-1 to replace the

Exhibit B-1 that was originally filed on January 19, 2024 as ECF No. 9550-2 (ECF No. 1124-2 in

03-cv-9849).

       10.       Attached as Exhibit 3 to this declaration is the corrected Exhibit B-2 to replace the

Exhibit B-2 that was originally filed on January 19, 2024 as ECF No. 9550-3 (ECF No. 1124-3 in

03-cv-9849).

       11.       Attached as Exhibit 4 to this declaration is the corrected Exhibit C to replace the

Exhibit C that was originally filed on January 19, 2024 as ECF No. 9550-4 (ECF No. 1124-4 in

03-cv-9849).

       12.       For the foregoing reasons, the Burnett Plaintiffs respectfully request that the Court

grant their Motion to Correct and Order that the Exhibit 1 attached hereto be substituted for ECF

No. 9546-3 (ECF No 1120-3) and ECF No. 9547-3 (ECF No. 1121-3 in 03-cv-9849); that the

Exhibit 2 attached hereto be substituted for ECF No. 9550-2 (ECF No. 1124-2) and ECF No. 9551-

2 (ECF No. 1125-2 in 03-cv-9849); that the Exhibit 3 attached hereto be substituted for ECF No.

9550-3 (ECF No. 1124-3) and ECF No. 9551-3 (ECF No. 1125-3 in 03-cv-9849); and that the

Exhibit 4 attached hereto be substituted for ECF No. 9550-4 (ECF No. 1124-4).

April 23, 2024                                 /S/ John M. Eubanks____________
                                               John M. Eubanks, Esq.
                                               MOTLEY RICE LLC
                                               28 Bridgeside Blvd.

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